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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                          Case No. 10-60932-Civ-COOKE/BANDSTRA

  JEFFREY D. BIANCHI,

          Plaintiff

  vs.

  FIRSTSOURCE ADVANTAGE, LLC,

        Defendant.
  ______________________________________/

                              AMENDED ORDER OF DISMISSAL1

          The Plaintiff’s claims under the Fair Debt Collection Practices Act and the Florida

  Consumer Collection Practices Act have been dismissed with prejudice, and the Plaintiff’s

  claims under the Telephone Consumer Protection Act have been dismissed without prejudice

  pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). (See Joint Stip. of Dismissal, ECF

  No. 14). The Clerk shall CLOSE this case. All pending motions, if any, are DENIED as moot.

          DONE and ORDERED in chambers, at Miami, Florida, this 21st day of December 2010.




  Copies furnished to:
  Ted E. Bandstra, U.S. Magistrate Judge
  Counsel of record




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      The initial Order of Dismissal (ECF No. 15) is VACATED.
